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July 31, 2023
                                                                                     Felicia H. Ellsworth

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Hon. Jed S. Rakoff
United States District Court
Southern District of New York
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, NY 10007-1312

Re:    Jane Doe 1 v. JPMorgan Chase Bank, N.A. v. James E. Staley, 22-cv-10019 (S.D.N.Y.) –
       Opposition to Third-Party Defendant James Staley’s Letter Alleging Waiver

Dear Judge Rakoff:

         JPMorgan Chase Bank, N.A. (“JPMC”) filed a third-party complaint against former
employee James Staley earlier this year after lawsuits sought to impose liability on the bank due
to Mr. Staley’s alleged personal misconduct and knowledge of Epstein’s misconduct derived from
his deep personal friendship with Epstein, which he failed to disclose to JPMC. In its case against
Mr. Staley, JPMC alleged, inter alia, claims for indemnity and contribution. See Jane Doe 1 v.
JPMorgan Chase Bank, N.A., 22-cv-10019, Dkt. 59. 1 Since that time, JPMC entered a settlement,
preliminarily approved by this Court, to resolve this litigation, but maintains that Mr. Staley is
responsible for that settlement amount. Mr. Staley, in a third misguided effort to suggest a
privilege waiver by JPMC, 2 now claims that, by maintaining its claim against Mr. Staley while
settling the claims brought by the class, JPMC waived privilege related to its settlement. This
argument is legally flawed and factually baseless, and this effort to invade JPMC’s privilege fails
just like the prior two.

        After JPMC’s settlement with the Doe class was announced, Mr. Staley asked the Court to
exclude the settlement amount as damages (denied), extend fact discovery by 60 days (denied), or
for discovery into the “reasonableness” and “causation” of the settlement. See July 7, 2023, Minute
Entry. He was granted limited discovery, id., which JPMC has produced. 3 In his telephone
application for this discovery, Mr. Staley disclaimed seeking privileged communications at that
time. Two days later, he reversed course, asserting the Court’s Order “ma[de] clear” that JPMC
had placed settlement-related communications “at issue” and waived privilege.


1
        Hereinafter, all docket citations are to Case No. 22-cv-10019, except where noted.
2
        Mr. Staley previously argued that JPMC had waived privilege (1) over communications of
in-house counsel by placing the knowledge of its General Counsel “at issue,” and (2) over
communications regarding Mr. Staley’s role with respect to Epstein’s accounts through a
“selective disclosure.” Dkt. 196. Both arguments were rejected. June 28, 2023, Minute Entry.
3
        Mr. Staley was also permitted to depose a JPMC 30(b)(6) witness about the settlement,
provided that “the deposition should take place no later than 7/21/23.” Id. JPMC offered to make
a witness available on July 19 (or July 25), but Mr. Staley refused, preferring to petition the Court
regarding privilege.
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        Mr. Staley argues that JPMC’s claims place “at issue” its privileged communications
related to settlement. That is incorrect. The applicable, binding case law is clear that “at issue”
waiver only occurs where a party relies on the privileged communications, and that seeking as
damages the amount for which a party settled does not alone place attorney-client privileged
communications at issue. Here, JPMC has not relied, and will not rely, on privileged
communications to prove either aspect of its claims identified in Mr. Staley’s letter:
“reasonableness” and “causation.” In short, JPMC has neither the intention nor the need to use its
communications with counsel about the settlement to make its case. Under these circumstances,
Mr. Staley does not come close to meeting the high standard required to show waiver.

        The narrowness of “at issue” waiver is well-established. Because the attorney-client
privilege serves a vital purpose, “rules which result in the waiver of this privilege and thus possess
the potential to weaken attorney-client trust, should be formulated with caution.” In re Cnty. of
Erie, 546 F.3d 222, 228 (2d Cir. 2008). Thus, the Second Circuit rejected the test from Hearn v.
Rhay, 68 F.R.D. 574 (E.D. Wash. 1975)—which required only that information be “ma[de]
relevant to the case” to be placed “at issue”—holding instead that, for waiver to occur, “a party
must rely on privileged advice from his counsel to make his claim or defense.” In re Cnty. of Erie,
546 F.3d at 229; see 2002 Lawrence R. Buchalter Alaska Tr. v. Phila. Fin. Life Assur. Co., 2016
WL 1060336, at *2 (S.D.N.Y. Mar. 11, 2016) (“[T]he Court in Erie explicitly rejected the so-
called “Hearn test.”); see also Deutsche Bank Trust Co. of Ams. v. Tri-Links Inv. Trust, 43 A.D.3d
56, 64 (1st Dep’t 2007) (“[T]hat a privileged communication contains information relevant to
issues the parties are litigating does not, without more, place the contents of the privileged
communication itself ‘at issue’ in the lawsuit; if that were the case, a privilege would have little
effect. Rather, ‘at issue’ waiver occurs when the party has asserted a claim or defense that he
intends to prove by use of the privileged materials.” (cleaned up)). 4

        First, Mr. Staley asserts that JPMC waived privilege by the mere act of “bringing an
indemnification action” that makes relevant “the issue of reasonableness of the settlement.” See
Staley Letter at 2. 5 This is not the law. See Leviton Mfg. Co., Inc. v. Greenberg Traurig LLP,
2010 WL 4983183, at *4 (S.D.N.Y. Dec. 6, 2010) (“Like the Second Circuit, New York courts
will not find waiver merely because privileged information is relevant to the issues being
litigated.”); Veras Inv. Partners, LLC v. Akin Gump Strauss Hauer & Feld LLP, 52 A.D.3d 370,
372 (1st Dep’t 2008) (“[I]t was error … to find waiver on the basis of relevance alone.”). JPMC
does not dispute that the reasonableness of the settlement is an aspect of its damages claim against
Mr. Staley, but that alone does not establish waiver. Rather, New York courts hold that privileged
communications are not placed at issue by seeking to recover a settlement as damages, unless the

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        Other circuits have likewise concluded that Hearn is “of dubious validity” because its
analysis “rest[s] on a conclusion that the information sought is relevant and should in fairness be
disclosed.” Rhone-Poulenc Rorer, Inc. v. Home Indem. Co., 32 F.3d 851, 864 (3d Cir. 1994); see
also In re Intron, Inc., 883 F.3d 553, 563-565 (5th Cir. 2018). “Relevance is not the standard for
determining whether or not evidence should be protected from disclosure as privileged, and that
remains the case even if one might conclude the facts to be disclosed are vital, highly probative,
directly relevant or even go to the heart of an issue.” Rhone-Poulenc Rorer, 32 F.3d at 851.
5
        Although JPMC logically seeks to recover the damages related to the settlement in the Doe
case (No. 22-cv-10019), Mr. Staley’s Letter was filed only on the USVI docket (at Dkt. 248).
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party seeks to rely on those communications. Nomura Asset Cap. Corp. v. Cadwalader,
Wickersham & Taft LLP, 62 A.D.3d 581, 582 (1st Dep’t 2009) (“Nor does the question of the
reasonableness of the settlement amount that plaintiff seeks to recover, without more, put plaintiff's
privileged communications with its attorneys concerning the settlement ‘in issue.’”); see also
Green v. Beer, 2010 WL 2653650, at *6 (S.D.N.Y. July 2, 2010) (“[T]he legal advice that the
plaintiffs received prior to settling … is no doubt relevant to their claim for reimbursement ….
However, they are not relying on that advice to demonstrate the reasonableness of their decision
to settle. Consequently, under County of Erie, the attorney-client privilege has not been
forfeited.”), aff’d in relevant part, 2010 WL 3422723, at *6 (S.D.N.Y. Aug. 24, 2010);
AngioDynamics, Inc. v. Biolitec, 2010 WL 11541926, at *3-5 (N.D.N.Y. May 25, 2010) (“[W]e
reject [the] argument that [plaintiff’s] initiation of this … indemnification action constituted a
waiver of its attorney-client privilege regarding all communications it may have made with counsel
concerning the settlement of the underlying actions.”).

       The cases Mr. Staley cites are inapposite. Mr. Staley’s primary citation (see Staley Letter
at 2 & 3), Scotstoun Shipping Co. v. Diplomatic Marine, Inc., 1980 WL 6688497 (S.D.N.Y. Jan.
21, 1980), predates the Second Circuit’s rejection of the Hearn test and relies expressly on Hearn
to support its relevance-based finding of waiver. A number of Mr. Staley’s other cites—decided
under the inapplicable substantive law of other states—likewise rely on Hearn’s since-rejected
relevance standard. See, e.g., Cooper v. Meridian Yachts, Ltd., 2008 WL 2229552, at *10-11 (S.D.
Fla. May 28, 2008) (relying on 11th Cir. case applying the Hearn test, GAB Bus. Servs., Inc. v.
Syndicate 627, 809 F.2d 755, 762 & n.11 (11th Cir. 1987)); Union Pac. R.R. Co. v. Loram Maint.
of Way, Inc., 2006 WL 8459287, at *4 (D. Utah Feb. 1, 2006) (waiver based on “relevance”). 6

       What is more, the reasonableness of JPMC’s settlement—assessed according to an
“objective standard,” Deutsche Bank, 43 A.D.3d at 65—can (and will) be demonstrated in multiple
ways without resorting to privileged communications. 7 First, this Court will be asked, in the
context of its Fed. R. Civ. P. 23(e)(2) inquiry, to assess the settlement’s “reasonableness.” Second,
JPMC will present non-privileged evidence of that reasonableness. Mr. Staley will have the
opportunity to depose any expert that JPMC might use for that purpose, and he has also been
granted leave to take a 30(b)(6) deposition on the topic. Third, if he chooses, Mr. Staley can
challenge the settlement’s reasonableness using the relevant, non-privileged materials at his
disposal: documents produced in discovery that bear on JPMC’s potential liability and legal filings

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        Meanwhile, Mr. Staley’s sole case from New York, DH Holdings Corp. v. Marconi Corp.
PLC, 809 N.Y.S.2d 404 (Sup. Ct. 2005)—which he relegates to a footnote, Staley Letter at 2, n.2—
has both been directly rejected by the First Department, see Deutsche Bank, 43 A.D.3d at 62
(reversing the trial court which “follow[ed] DH Holdings”), and draws its rule of decision
indirectly from Hearn, see DH Holdings, 809 N.Y.S.2d at 406 (quoting Arkwright Mut. Ins. Co. v.
Nat’l Union Fire Ins. Co., 1994 WL 510043, at *11 (S.D.N.Y. 1994) (quoting Hearn)).
7
        “[C]ase law frequently ends the inquiry into ‘at issue’ waiver once it is established that the
party does not intend to use such materials as proof.” Windsor Sec., LLC v. Arent Fox LLP, 273
F. Supp. 3d 512, 519-20 (S.D.N.Y. 2017); see also Bovis Lend Lease, LMB, Inc. v. Seasons
Contracting Corp, 2002 WL 31729693, at *17 (S.D.N.Y. Dec. 5, 2002) (“Generally, where a party
does not itself place in issue the matter as to which the privileged communications are relevant,
the privilege is not waived.”).
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from the Doe case. Nomura, 62 A.D.3d at 582 (“No reason appears why the reasonableness of the
settlement cannot be determined with the copious materials that defendant has already received
….”); Deutsche Bank, 43 A.D.3d at 65 (“[N]on-privileged material [from the other case] provides
a more-than-ample basis … to litigate the reasonableness of [a party’s] decision to settle ….”).
When presented with these materials, this Court is no doubt equipped to assess both legal risk and
reasonableness (or aid a jury in doing so).

        Mr. Staley’s second argument—that this material is placed “at issue” because JPMC “must
also prove that Staley ‘caused’ the potential liability,” Staley Letter at 2—fares no better. JPMC
has no intention of relying on its own privileged communications about settlement to establish this
causal connection, because JPMC does not allege Mr. Staley “caused” potential liability through
any conduct in 2023 (when these communications occurred). Instead, as JPMC has contended in
both its Third-Party Complaint, Dkt 59, and its Opposition to Mr. Staley’s Motion to Dismiss, Dkt.
121, JPMC’s claims are based on Mr. Staley’s conduct at the time he was a JPMC employee.
JPMC has alleged—and will prove at trial—that Mr. Staley caused any potential liability the bank
faced or faces because his actions (i.e., advocating for retaining Mr. Epstein as a client and
vouching for Mr. Epstein’s character, without revealing the true nature of his relationship with
Epstein and his alleged involvement in Epstein’s wrongdoing, in response to efforts by other bank
employees to terminate the relationship) were a “direct and proximate cause of JPMC’s decision
to continue to do business with Epstein until 2013.” Dkt. 59, ¶¶40, 41; see also Dkt. 121 at 13. In
sum, JPMC’s proof regarding the manner in which Mr. Staley “caused” potential liability is wholly
distinct (and over a decade removed) from its privileged communications about settlement.

        As before, the cases Mr. Staley cites do not aid his argument. He again cites Scotstoun
Shipping Co., but, as above, the “relevance” rule applied there has been rejected in New York. It
might be that Mr. Staley would like to put forward a defense theory that JPMC settled due to
“concerns about negative publicity and regulatory risk” as opposed to because of the liability
exposure caused by Mr. Staley. Staley Letter at 2. But a possible defense Mr. Staley might raise
cannot work a waiver. See Leviton Mfg. Co., Inc., 2010 WL 4983183, at *4 (“Simply because
those communications might be useful in undermining [plaintiff’s claim] does not mean that the
attorney-client privilege has been impliedly waived.”); Gardner v. Major Auto Cos., 2014 WL
1330961, at *7 (E.D.N.Y. Mar. 31, 2014). The other case Mr. Staley cites—In re Namenda Direct
Purchaser Antitrust Litig., 2017 WL 2226591, at *5 (S.D.N.Y. May 19, 2017)—supports JPMC.
In that case, which involved allegations of anticompetitive conduct by a patentholder defendant in
settling multiple lawsuits (that had argued invalidity), the defendant alleged the settlements were
lawful compromises. Id. at *1-2. There, unlike here, the party’s own allegations involved “factual
assertions” about its “subjective beliefs” regarding settlement. Id. at *4-5. Yet, still, the Court did
not find waiver due to the possibility that even “subjective beliefs” about the rationale for
settlement might be shown through nonprivileged evidence. Id. at *5. Here, JPMC has not alleged
any subjective beliefs in support of the idea that Mr. Staley caused the damages it seeks. That
causal question can be determined entirely based on nonprivileged documentary and testimonial
evidence related to Mr. Staley’s tenure at the bank.

       For the foregoing reasons, Mr. Staley’s requested relief should be denied.
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Sincerely,

/s/ Felicia H. Ellsworth
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